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                                   STATEMENT OF FACTS

        Your affiant, Joseph DeWan, is an FBI Special Agent assigned to the Seattle field office.
In my duties as a special agent, I have investigated and participated in the investigations of
criminal activity, including but not limited to: crimes against persons, crimes against property,
and conspiracy against civil rights. During these investigations, I have participated in the
execution of arrest warrants and search warrants during which the seizure of evidence indicating
the presence of criminal violations occurred. As an FBI Special Agent, I have conducted or
participated in physical surveillance, debriefings of informants, interviews, and reviews of
records and recordings. From these experiences, and from related training, I have become
familiar with the ways in which persons coordinate, carry out, and conceal criminal activity.
Currently, I am tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a Special Agent, I am authorized by law or by a government agency to
engage in or supervise the prevention, detection, investigation, or prosecution of a violation of
Federal criminal laws.

                                    The United States Capitol

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.
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       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                             Spencer Offman’s Activities on January 6, 2021

       Pursuant to a search warrant, Google provided information to the FBI that a device
associated with the telephone number ending in -8239, 1 belonging to Spencer OFFMAN of
Novi, MI, was located in or around the United States Capitol on January 6, 2021.

       On May 19, 2021, OFFMAN was interviewed by Agents regarding his trip to
Washington, D.C. in January, and he denied being around or inside the Capitol and stated that
when he witnessed individuals moving barricades and participating in violence, he realized these
were not the same values he shared and left the parking lot by the Capitol. OFFMAN denied
going any farther than the Capitol parking lot. OFFMAN was cooperative during the interview
and was open to re-contact by the FBI. The investigation was closed.

       In April 2022, a tipster contacted the FBI to provide images of Spencer OFFMAN
moving barricades at the Capitol, and the investigation was reopened to search for additional
footage. The following images were provided to the FBI:




1
    The full telephone number is known to your affiant.
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       Agents compared OFFMAN’s driver’s license photo, which was consistent with the
appearance of the individual identified as OFFMAN in the photographs above. Additionally, the
agent/agents who interviewed OFFMAN in May 2021 connfirmed that the individual in the
photographs above is OFFMAN. FBI also identified additional images of OFFMAN:
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         A review of Capitol Police CCTV footage from the Senate Wing Door identified
OFFMAN entering the Capitol. OFFMAN entered the U.S. Capitol at 14:53:44 and exited the
Capitol at 14:59:00. OFFMAN remained in view of the camera of the Senate Wing and did not
go into any other rooms. OFFMAN was observed wearing a black beanie, red bandana, black
shirt, jacket and jeans and was carrying a black backpack on his back.
Entry:                                               Exit:
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        At 14:53:44, OFFMAN entered the Capitol through one of the broken windows in the
Senate Wing. OFFMAN remained near the window and took what appears to be a cell phone out
of his jacket pocket. OFFMAN pointed the device at the crowd which flashed three different
times. It is likely OFFMAN took three photos of the crowd in the Senate Wing with the flash on.




       At 14:54:10, OFFMAN turned his back towards the crowd and lowered the red bandana
covering his face, exposing his nose. His device’s creen was facing him. He then replaced his
bandana.
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      At 14:53:32, OFFMAN pointed the device at the crowd again and the device flashed..
       At 14:58:50 OFFMAN began to head back toward the broken window he entered from
and exited the Capitol at 14:59:00.
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        SA Anthony Resendiz, who interviewed Offman on May 19, 2021, reviewed CCTV
footage showing Offman near the Senate Wing Door in the U.S. Capitol. He positively
identified Offman as the individual indicated above.
        Based on the foregoing, your affiant submits that there is probable cause to believe that
Spencer Offman violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions, or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that Spencer Offman violated
40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                            Special Agent Joseph DeWan
                                                            Federal Bureau of Investigation



Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 1st day of December, 2023.



                                                     ___________________________________
                                                     HONORABLE MOXILA A. UPADHYAYA
                                                     U.S. MAGISTRATE JUDGE
